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                                                           June 9, 2022


Via CM/ECF
Hon. Andre Espinosa
United States Magistrate Judge
Martin Luther King Jr. Courthouse
50 Walnut Street, Rm 2037, Court Rm 2D
Newark, NU 07102

                   Re:     Paul Goroff vs. Thieman Tailgates, Inc., et. al.
                           Docket #:      2:21-cv-09668-KM-AME
                           Our File No: 7023

Dear Judge Espinosa:

         Our office represents the Plaintiff in the above matter. We submit this joint letter pursuant to the Court’s
Pretrial Scheduling Order filed March 21, 2022 [D.E. 64] (the “Order”) and after consultation and approval of all
counsel in the above action.

         We have completed the fact witness depositions.

       We have completed all of the inspections of the liftgate and truck and duly exchanged the expert reports
concerning these inspections.

      The parties continue to agree that the parts of the liftgate Plaintiff claims failed shall be maintained by the
Monster Defendants until the trial of this Action.

        Plaintiff duly served all affirmative liability expert disclosures. As set forth above Defendants have all served
their expert disclosures concerning the subject liftgate.

        Defendants have scheduled all of the medical examinations of the Plaintiff, some of which had to be
postponed due to Covid. Plaintiff appeared for a urological examination on May 17, 2022. Plaintiff is scheduled to
appear for two psych examinations on June 9, 2022 and for an orthopedic examination on July 21, 2022.
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      The parties request that the deadline for the exchange of the reports for the psych examinations and orthopedic
examination be extended from July 26, 2022 to August 31, 2022.

        Plaintiff reached out to Defendants last month to schedule expert depositions. Unfortunately, counsel for the
Monster defendants, Dennis J. Loffredo, failed to respond to numerous emails and phone calls so no date could be
set for these depositions. Moreover, all counsel agreed to mediation in an attempt to discuss possible settlement
except for Mr. Loffredo. Accordingly, the parties request that the deadline for expert depositions be extended from
June 24, 2022 to September 30, 2022.


                                                      Respectfully,

                                                      Bruce J. Cheriff
                                                      Bruce J. Cheriff

cc: All Counsel of Record (Via Electronic Filing and email)
